
USCA1 Opinion

	










          July 12, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 95-2235

                                      IKE WEEMS,

                                Plaintiff, Appellant,

                                          v.

                            GEORGE A. VOSE, ETC., ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Ike Weems on brief pro se.
            _________
            Michael B.  Grant, Senior Legal  Counsel, Rhode Island  Department
            _________________
        of Corrections,  on  Memorandum  in  Support  of  Motion  for  Summary
        Disposition, for appellees.


                                 ____________________


                                 ____________________



                 Per  Curiam.   Having carefully  examined the  record in
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            this  case,  we  affirm  the dismissal  of  appellant  Weems'

            complaint.  

                 First, since the Morris rules  are state law, an alleged

            violation  of  them,  without   more,  is  not  a  sufficient

            predicate  to  sustain a  damage  action  under federal  law.

            Complaints  of such  violations should  be directed  to state

            court.  Furthermore, insofar  as  Weems  seeks injunctive  or

            declaratory  relief  for  these  alleged  violations,  he  is

            precluded  by our  prior holding  that inmates may  not bring

            individual  section 1983  actions  for injunctive  or  relief

            which  are based on consent decree violations.  See Martel v.
                                                            ___ ______

            Fridovich, 14 F.3d 1, 3 n.4 (1st Cir. 1993).
            _________

                 Second, even  if we assume without  deciding that Weems'

            disciplinary  hearings  deprived  him  of  a constitutionally

            protected liberty interest, Weems  has still failed to allege

            sufficient facts to  sustain a  claim that his  right to  due

            process  has   been  violated.     Liberally  construed,  his

            complaint alleges:  (1) that  he was not  provided sufficient

            notice  of the  charges prior  to the  disciplinary hearings;

            and (2) that the board's findings of guilt  were not based on

            some evidence in the record.  As to the first, Weems concedes

            that he received notice of the disciplinary reports at  least

            24  hours prior  to the  hearings and  this is  sufficient to

            satisfy  due process.  See  Langton v. Berman,  667 F.2d 231,
                                   ___  _______    ______

            234 (1st Cir. 1981).  As to the second, the record shows that



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            in  each instance  the board  relied on  disciplinary reports

            which  contained eyewitness accounts  of the infractions with

            which Weems was charged.   Moreover, Weems never controverted

            the essential  factual allegations on which  the board relied

            at  the disciplinary  hearing  nor  does  he  do  so  in  his

            complaint.   In these circumstances, the  board's reliance on

            the  written reports was proper  and no due process violation

            occurred.  See  Forbes v.  Trigg, 976 F.2d  308, 318-19  (7th
                       ___  ______     _____

            Cir.  1992)  (finding no  due  process  violation in  similar

            circumstances), cert. denied, 507 U.S. 950 (1993).
                            _____ ______

                 Third, as the Supreme Court has recently made clear, the

            right  of access  to  the courts  is  the "right  to bring  a

            grievance  that the  inmate wishe[s] to  present."   Lewis v.
                                                                 _____

            Casey, 1996 WL 340797, at *5 (U.S June 24, 1996).   It is not
            _____

            a right "to litigate effectively once in court."  Id.   Thus,
                                                              __

            in  order to  prevail on  his claim  that  his constitutional

            right  was violated, Weems  must show  an "actual  injury" by

            "demonstrat[ing] that the alleged shortcomings in the library

            or legal assistance  hindered his efforts  to pursue a  legal

            claim."   Id.   Not  only has  Weems alleged  no such  actual
                      __

            injury but the record makes clear that he was able to present

            his alleged  grievances to the  court and  that, as a  pro se
                                                                   ___ __

            plaintiff, his complaint was liberally construed.  Thus, this

            claim is meritless.





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                 Finally,  essentially  for  the  reasons  given  by  the

            magistrate judge  in  his report  and  recommendation,  dated

            September  29, 1995,  Weems'  allegation that  the punishment

            assessed  him  violated  his  right to  equal  protection  is

            without merit.

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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